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             Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
                    22-2008, 22-2009, 22-2010, 22-2011
                                               IN THE
                  United States Court of Appeals
                       for the Third Circuit
                            ____________________

                        IN RE: LTL MANAGEMENT LLC,
                                                                            Debtor
                            _______________________________________________________




                  *OFFICIAL COMMITTEE OF TALC CLAIMANTS,
                                                                             Appellant

                 *(Amended per Court’s Order dated 06/10/2022)
                            ____________________
           On direct appeal from the United States Bankruptcy Court
     for the District of New Jersey, No. 21-30589, Adv. Proc. No. 21-3023
                            ____________________
                    MOTION TO STAY THE MANDATE
                         ____________________

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       Case: 22-2003 Doc
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13 context, noting that limiting such dismissals to “extraordinary cases is

particularly appropriate” given that lack of good faith is an express statutory

ground for later denying plan confirmation in Chapter 13, see 11 U.S.C.

§ 1325(a)(3), and Chapter 11, see id. § 1129(a)(3), both. Marrama v. Citizens

Bank of Mass., 549 U.S. 365, 375 n.11 (2007). Bankruptcy courts “should be more

reluctant to dismiss a petition for lack of good faith than to reject a plan for lack of

good faith.” Id. (citation omitted). Even if the Supreme Court does not entirely

jettison the good-faith requirement, it is likely to be persuaded that this Court’s

standard is a bridge too far.

             LTL’s petition for certiorari will present a substantial question
             regarding the standard of review that an appellate court applies to
             a bankruptcy court’s good-faith findings.

      The panel decision also creates a split regarding the standard of review that

an appellate court applies in assessing good faith. The panel treated good faith as

“essentially[] a conclusion of law” reviewed de novo without any deference to the

Bankruptcy Court. Op. 33 (quoting BEPCO, 589 F.3d at 616). It “likewise”

treated the Bankruptcy Court’s finding of financial distress the same, giving it a

“fresh look.” Op. 33. The panel “[w]eigh[ed] the totality of facts and

circumstances” itself, leading it to reject the Bankruptcy Court’s conclusion that

Old JJCI—rather than LTL—was the proper focus of the financial-distress analysis

even though the funding agreement was part of the bankruptcy-driven


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restructuring, and the restructuring was a “single integrated transaction” to resolve

Old JJCI’s talc liabilities. Op. 43-44. And the panel “evaluate[d] the financial

condition of LTL” for itself, concluding it would “not accept [the bankruptcy

court’s] projections of future liability.” Op. 45-46. By contrast, other courts of

appeals review a bankruptcy court’s good-faith finding under “the clearly

erroneous standard.” Premier Auto. Servs., 492 F.3d at 279; see also In re Brazos

Emergency Physicians Ass’n, P.A., 471 F. App’x 393, 394 (5th Cir. 2012); In re

Cedar Shore Resort, Inc., 235 F.3d at 379; In re Trident Assocs. Ltd. P’ship, 52

F.3d 127, 132 (6th Cir. 1995); In re Marsch, 36 F.3d at 828.

      Here, again, the Court’s analysis is likely wrong and there is a reasonable

possibility it will be reversed by the Supreme Court. See Nara, 494 F.3d at 1133.

The instances in which the Supreme Court has “articulated a standard of deference

for appellate review of district-court determinations reflect an accommodation of

the respective institutional advantages of trial and appellate courts.” Salve Regina

Coll. v. Russell, 499 U.S. 225, 233 (1991). “[A] federal appellate court [has the]

primary function as an expositor of law,” Miller v. Fenton, 474 U.S. 104, 114

(1985), and is therefore best-suited to resolve questions that “contribute to the

clarity of legal doctrine,” Salve Regina, 499 U.S. at 233. But a second (and in

many cases, third) round of de novo consideration imposes added costs on judges

and litigants alike, and it is ill-suited to occasions when an appellate court’s



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